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and all others similarly situated


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



MARK APOSTOLOU, an individual; et al.,

               Plaintiffs,
                                                                  Civil Action No.
       vs.                                                Case 2:09-cv-06434-SDW-MCA

GLOBAL CREDIT & COLLECTION                          NOTICE OF VOLUNTARY DISMISSAL
CORPORATION, a Delaware Corporation; et                     WITH PREJUDICE
al.,

               Defendants.



TO THE HONORABLE UNITED STATES DISTRICT COURT:

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff,

hereby gives notice of dismissal of the above-entitled action with prejudice as to himself and

without prejudice as to the rights of the unnamed putative class members, without further costs,

disbursements, attorney’s fees, or expenses to or against any party.

PHILIP D. STERN & ASSOCIATES, LLC

By: s/ Philip D. Stern
   Philip D. Stern, Esq.
    Attorneys for Plaintiff, Mark Apostolou




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